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sOUTHERN DISTRICT 0F INDIANA § .»,,.w,. a m
INDIANAPoLIS DIVISION ' “"“"’ 3 § 32 §§

  

 

UNITED STATES and STATE OF INDIANA
ex rel. [Under Seal], , .
AMENDED COMPLAlNT

 

Plaintiffs/Relator,
: Filed Under Seal Pursuant to
v. : 31 U.S.C. § 3730(b)(2)
[Under Seal], y : DO NOT SERVE OR POST_
' ON PACER
Defendants.
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UNITED STATES DISTRICT COURT
SOU'I`HERN DISTRICT OF INDIANA

 

INDIANAPOLIS DIVISION
UNITED STATES and STATE OF INDIANA : Case No. l:l3-cv-2009-TWP-MJD
ex rel. JUDITH ROBINSON, ‘
AMENDED COMPLAINT
Plaintiffs/Relator,
: Filed Under Seal Pursuant to
v. : 31 U.S.C. § 3730(b)(2)
INDIANA UNIVERSITY HEALTH, INC. .
f/k/a CLARIAN HEALTH PARTNERS, INC., : DO NOT SERVE OR POST
HEALTHNET, INC., and : ON PACER
MDWISE, INC. ‘
Defendants.

 

AMENDED COMPLAlNT FOR VIOLATIONS OF THE FALSE CLAIMS ACT AND
THE INDIANA FALSE CLAIMS AND WHISTLEBLOWER PROTECTION ACT

 

This is an action brought by Plaintiff/Relator Judith Robinson, M.D., on behalf of the
United States of America and the State of lndiana pursuant to the Federal False Claims Act, 31
U.S.C. § 3729, et seq., and the lndiana False Claims and Whistleblower Protection Act, Ind.
Code § 5-l l-5.5-l, et seq. In support thereof, Relator alleges as follows:

INTRODUCTION

l. High-risk, low-income pregnant women in Indianapolis, Indiana, rely on the
HealthNet clinics and lndiana University Health’s Methodist Hospital to care for them and their
newborn babies. Yet, contrary to their carefully crafted image of offering compassionate care for
the indigent, two of the largest healthcare providers in lndianapolis put poor, pregnant women
and their newborn babies at risk with a fraud scheme designed to increase revenues, regardless of

the law or the risks to the most medically-fragile patients.

 

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2. The State of lndiana specifically crafted its Medicaid program to ensure that high-
n`sk pregnant women only receive medical care ii‘om physicians. Yet, the scheme engineered by
lU Health and HealthNet kept doctors from treating these patients, leaving their care to the
lower-cost nurse-midwives. But when it came time to bill taxpayers, IU Health and HealthNet
claimed that the services were provided by Ob/Gyn physicians, even though the doctors never
met or examined the patients. As a result, HealthNet and IU Health bilked taxpayers out of
hundreds of millions of dollars in false or fraudulent claims.

3. The patients paid a price too: newborn babies with permanent neurological
injuries, emergency Caesarian-sections, and even instances of maternal and fetal death. Take,
for example, the story of patient N.K.,l a high-risk Medicaid beneficiary who never saw a
physician during her prenatal visits. At almost 4l-weeks, N.K. was evaluated at the hospital by
nurse-midwives and was sent home by a nurse-midwife when efforts to induce labor didn’t work,
despite being overdue, suffering from gestational hypertension, and never seeing an actual
physician When N.K. finally came back to the hospital two days later, her baby showed signs of
abnormal heart tracing, and N.K. was taken to the operating room for an emergency C-section.
But, it was too late_her baby is permanently neurologically impaired. Afcer the delivery,
physicians were finally asked to review the heart monitor strip from N.K.’s induction visit and
determined that the abnormal heart tracing should have been evident to the nurse-midwife at that
time. The nurse-midwife should never have sent N.K. home.

4. The widespread use of nonphysicians to care for high-risk pregnant Medicaid

patients is one in a series of fraudulent billing schemes enabled by the intertwined corporate

 

1 All patients referenced in this Amended Complaint are identified only by their initials to protect
their identity. More complete identifying information has been provided to the Government and
is available to the Court upon request.

 

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relationships of HealthNet, IU Health, and MDwise-a managed care entity hired by lndiana to
protect taxpayer dollars and ensure hi gh-quality medical care. As described more fully herein,
these entities worked in tandern: HealthNet and lU Health submitted false claims for payment,
while MDwise authorized those claims to be fulfilled with taxpayer dollars. The scheme not
only enabled IU Health and HealthNet to receive improper Medicaid and supplemental funding
payments, but also allowed MDwise to qualify for bonus payments and artificially increase the
flat fee it is paid to treat Medicaid patients.

5. When Dr. Judith Robinson learned of three instances of babies with permanent
neurological injury in a six-month period, she loudly blew the whistle_alerting executives as
early as February 2013 of her concerns about their business model. Four months later, she was
fired. Despite her warnings, the revenue-driven scheme is still going strong. Dr. Robinson
learned in July 2014 of a maternal death that resulted nom a certified nurse-midwife’s failure to
properly ascertain a patient’s medical needs. Once Dr. Robinson was pushed out of the way,
HealthNet and IU Health have continued their practices-and the damages they cause to the
U.S., lndiana, and high-risk mothers and their babies.

JURISDICTION AND VENUE

6. This action arises under the Federal False Claims Act, 31 U.S.C. § 3729, et seq.,
and the lndiana False Claims and Whistleblower Protection Act, Ind. Code § 5-l 1-5 .5-l , et seq.
This Court has jurisdiction over this action pursuant to 28 U.S.C. § 133land 31 U.S.C. §
3732(a), which specifically confers jurisdiction on this Court for actions brought under 31 U.S.C.
§ 3730. Additionally, 31 U.S.C. § 3732(b) specifically confers jurisdiction on this Court for
state-law claims that arise under the same transactions or occurrences as an action brought under

31 U.S.C. § 3730.

 

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7. This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C. §
3732(a) because the Defendants can be found in, reside in, transact business in, and have
committed the alleged acts in Marion County, lndiana, which is in the Southem District of
Indiana.

8. Venue is proper in this District pursuant to 28 U.S.C. § l392(b)-(c) and 31 U.S.C.
§ 3732(a) because the Defendants can be found in, reside in, and transact business in the
Southem District of lndiana and the alleged acts occurred in this District.

9. Relator knows of no other complaints that have been filed against the Defendants
alleging the same or similar allegations To Relator’s knowledge, the facts and circumstances
alleged in this Complaint have not been publicly disclosed in a federal criminal, civil or
administrative hearing in Which the Governrnent or its agent is a party; in a Government
Accountability Office or other federal report, hearing, audit, or investigation; or in the news
media.

10. ' Relator is an original source as defined by the False Claims Act in 31 U.S.C. §
373 0(e)(4)(B) and as described in the lndiana False Claims and Whistleblower Protection Act at
Ind. Code 5-11-5.5-7(f), as detailed more fully herein. Relator has made voluntary disclosures to
the United States of America and the State of lndiana prior to the filing of this lawsuit as
required by 31 U.S.C. § 3730(b)(2). 3

PARTIES

11. The real-parties-in-interest to the claims set forth herein are the United States of
America and the State of Indiana.

12. Plaintiff and Relator Judith Robinson, M.D., is a resident of Carmel, Indiana.

She received her Doctor of Medicine from the University of Illinois in 1981 and performed her

 

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residency in Obstetrics and Gynecology at Methodist Hospital in Indianapolis, lndiana from
1983 to 1987. Dr. Robinson is a Board-certified Ob/Gyn and a Fellow in the American College
of Obstetrics and Gynecology. Among her many honors, she has received the Indianapolis
Monthly “Top Doc” award for Ob/Gyn physicians each month since 1998. Dr. Robinson had an
active private practice for nineteen years, from 1987 until 2006.

13. Dr. Robinson began working part-time at HealthNet in or around October 2005 .
In or about mid-2006, Dr. Robinson left private practice completely and began working full time
at HealthNet. At all times from 2005 until her termination in 2013, Dr. Robinson received her
W-2 from IU Health (f/k/a Clarian Health Partners, Inc.) and was eligible to participate in IU
Health’s group health insurance plan, disability insurance plan, and qualified retirement plan. In
2010, Dr. Robinson was appointed to the position of Medical Director of Ob/Gyn Services at
Methodist Hospital. She also held the position of Chairperson of Methodist Hospital Ob/Gyn
Section and was the Manager of the HealthNet/IU Health Hospitalist Service. From 2010
through 2012, Dr. Robinson was also the Assistant Ob/Gyn Residency Director for the Methodist
Hospital campus. In 2011, Dr. Robinson was appointed to the position of Director of Women’s
Services at HealthNet, Inc., which made her the first person to hold Director positions at both
HealthNet and Methodist Hospital concurrently.

14. Defendant lndiana University Health, Inc. (“IU Health”) is an lndiana non-
profit corporation that was formed in January 1997 through a consolidation of assets between the
Trustees of lndiana University and Methodist Health Group, Inc. As a result of the
consolidation, IU Health and its subsidiaries are a conglomeration of hospitals, physicians and
allied services that provide healthcare throughout lndiana under various names. IU Health was

formerly known as Clarian Health Partners, Inc. and formally changed its name to lndiana

 

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University Health, Inc. on January 6, 2011, effective April l, 2011. IU Health is governed by a
Board of Directors and employs a staff of approximately 36,000. Its current President and Chief
Executive Officer is Dan Evans.

15. IU Health’s largest hospital is lndiana University Health Methodist Hospital
(d/b/a “Methodist Hospital”) in Indianapolis, Indiana. Methodist Hospital is the site of all patient
deliveries and triage services referenced herein. Although under the IU Health umbrella,
Methodist Hospital has its own set of executives The current President is Herbert Buchanan, Jr.,
who immediately succeeded J ames Terwilliger. The current Chief Medical Officer is Dr.
Michael Niemeier, M.D.

16. Defendant HealthNet, Inc. (“HealthNet”) is a non-profit corporation with nine
primary care health centers and additional specialty clinic locations throughout metro
lndianapolis, Indiana. HealthNet, lndiana’s largest federally qualified health center, was
established in 1968 and provides healthcare services primarily to patients who live at or below
the federal poverty level. HealthNet provides these services, which include pediatrics, obstetrics,
and gynecological services, on a sliding fee scale to those without insurance, but the bulk of its
patients are Medicaid beneficiaries The current President and CEO of HealthNet is J. Cornelius
Brown and its Chief Medical Officer is Dr. Don Trainor, M.D.

l7. According to HealthNet’s 2012-2013 annual report, 4,077 Women received
prenatal care at HealthNet that year, including 2,422 deliveries at IU Health’s Methodist
Hospital. That report also identified that 61% of HealthNet’s total patient population are
Medicaid beneficiaries Upon information and belief, approximately 90% of HealthNet’s

obstetric patients are Medicaid beneficiaries

 

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18. Defendant MDwise, Inc. (“MDwise”) is a non-profit managed care entity based
in lndianapolis, lndiana. MDwise began operations in 1994, and purchased 100% of the stock of
IU Health Plan, Inc. (“IUHP”) in or about December 2006. lt is jointly owned and controlled by
Defendant IU Health and the Health and Hospital Corporation of Marion County, lndiana (Which
operates Eskenazi Health, a county hospital). In 2008, MDwise took over a contract to provide
Medicaid services to qualified lndiana residents under the Hoosier Healthwise plan. ln 2011,
MDwise was awarded a new contract to provide managed care for recipients of both Hoosier
Healthwise and the Healthy lndiana Plan. MDwise is the single largest managed care provider in
lndiana with more than 270,000 members

Relationship Between Defendant Parties

19. All three defendants are separate legal entities, but are inextricably intertwined.

20. HealthNet serves as a de facto affiliate of IU Health. HealthN et receives funding
for medical staff from IU Health, borrows money for operational needs from IU Health, obtains
malpractice insurance through an IU Health subsidiary, uses 'IU Health laboratories, and orders
its supplies through IU Health. HealthNet technically pays its own employees, but the
compensation is provided using IU Health’s employer identification number, such that
HealthNet’s approximately 700 employees receive 1099s and W-2s through IU Health, In 2012,
IU Health contributed $254,100 in cash to HealthNet. IU Health did not list HealthNet as a
related, tax-exempt organization Upon information and belief, all policies and procedures at
HealthNet are provided by or approved by IU Health.

21. For example, in 2005, Dr. Robinson signed an employment contract with Clarian
Health Partner, lnc., Which is the former corporate name of IU Health, Inc. The contract was

signed by Samuel Odle, identified as the “President and CEO of Methodist & IU Hospitals.”

 

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Clarian defined itself as the “Hospital,” but then specifically appointed Dr. Robinson as a
“HealthNet OB-GYN Hospitalist” who would “provide services at HealthNet Community Health
Centers (‘HealthNet’).” The agreement further explained that, “Hospital shall employ, at its own
expense, such physician and non-physician personnel as it deems necessary for the effective
operation of HealthNet” and “Hospital shall furnish and maintain, at its own expense, such
space, facilities, equipment, fixtures, supplies and services as it deems necessary for the effective
operation of HealthNet.”

22. Dr. Robinson’s 2005 employment contract stated, “All funds collected for
services rendered at the HealthNet Health Centers shall be the general, unrestricted funds of
Hospital and HealthNet.”

23. Despite Dr. Robinson’s initial contract with Clarian / IU Health, HealthNet, lnc.
reported Dr. Robinson as one of its five highest compensated employees on its 2012 Form 990,
reported to the IRS due to its status as a non-profit, tax-exempt organization

24. ' In return for IU Health’s financial, operational, and technological support,
HealthNet refers all of its patients to IU Health. For example, all lab work, x-rays, and ancillary
services required for HealthNet patients are referred to lU Health.

25. MDwise, the managed care entity, is owned in equal parts by Defendant IU
Health and by the Health and Hospital Corporation of Marion County, Upon information and
belief, department directors and administrators from HealthNet (i.e. CEO, COO, and CMO)
conducted regular monthly meetings with representatives from MDwise. HealthNet did not
conduct the same sort of meetings With any other managed care entity,

26. Dr. Robinson recalls an instance wherein Don Trainor stated to her that, “Most of

the HealthNet patients are MDwise. IU Health owns them so it’s best to keep it all in the

 

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family!” To accomplish Trainor’s mission of keeping patients “all in the family,” Dr. Robinson
was told by Trainor and Mary Blackbum, the manager of HealthNet’s nonphysician-provider
group, in or around 2011 that HealthNet employees who met With new Medicaid enrollees for an
initial Financial Interview Service (“FIS”) visit would steer the Medicaid recipients into selecting
MDwise from the three possible MCE choices

LEGAL AND REGULATORY BACKGROUND
Federal False Claims Act

27. T he False Claims Act, 31 U.S.C. § 3729(a)(1)(A) and (B), imposes liability upon,
inter alia, those who knowingly present or cause to be presented false claims for payment or
approval, and those who make or use, or cause to be made or used, false records or statements
material to a false claims Violators are liable to the United States Government for a civil
penalty of not less than $5,000 and not more than $10,000, plus three times the amount of
damages sustained by the Govemment. 31 U.S.C. § 3729(a)(l).

28. Employees who have been discharged, demoted, suspended, threatened, harassed,
or in any manner discriminated against in terms and conditions of employment, because of
lawful acts in furtherance of efforts to stop violations of the False Claims Act, are entitled to
relief necessary to be made whole. 31 U.S.C. § 3730(h).
lndiana’s False Claims Act lndiana False Claims and Whistleblower Protection Act

29. lndiana’s False Claims and Whistleblower Protection Act, Ind. Code § 5-11-5.5-1,
et seq., is modeled upon the federal False Claims Act and proscribes the same conduct. “A
person who knowingly or intentionally. . .presents a false claims to the state for payment or
approval, [or] makes or uses a false record or statement to obtain payment or approval of a false

claim from the state. . .is. . .liable to the state for a civil penalty of at least five thousand dollars

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($5,000) and for up to three (3) times the amount of damages sustained by the state.” lnd. Code
§ 5-11-5.5-2(b)(1)-(2).

30. The lndiana Act also provides relief for employees who have been “discharged,
demoted, suspended, threatened, harassed, or otherwise discriminated against” because the
employee objected to a false claims made by the employer. lnd. Code § 5-11-5.5-8(a). Further,
relief for the employee may include reinstatement, two times the amount of back pay owed the
employee, interest on back pay owed, and compensation for special damages including litigation
costs and reasonable attorney’s fees Ind. Code § 5-11-5.5-8(b).
lndiana Medicaid

31. The federal Medicaid program was created in 1965 as part of the Social Security
Act, which authorized federal grants to states for medical assistance to low-income persons,
blind, disabled, or members of families with dependent children or qualified pregnant women or
children The Medicaid program is jointly financed by the federal and state governments The
Secretary of Health and Human Services administers Medicaid on the federal level through the
Centers for Medicare and Medicaid Services (“CMS”). Within broad federal rules each state
decides eligible groups, types and range of services payment levels for services and
administrative and operating procedures The states directly pay providers With the states
obtaining the federal share of the payment nom accounts Which draw on the United States
Treasury. 42 C.F.R. §§430.0-430.30. The federal share of Medicaid expenditures varies by
state.

32. The lndiana Health Coverage Pro gram (“IHCP”), lndiana’s Medicaid pro gram, is
administered by the lndiana Family and Social Service Administration, an agency of the State of

lndiana. lt offers both fee-for-service and capitated managed care programs

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33. Healthcare providers who Wish to provide and be paid for services to Medicaid
beneficiaries must first become approved Medicaid providers This applies to both individual
providers and to institutional providers To become an approved Medicaid provider, each
provider must complete an enrollment packet with the IHCP. As part of that packet, each
provider must execute a “Provider Agreement,” which expressly includes the following
statement, set in all capital letters immediately before the authorized signature line:

AS A CONDITION OF PAYMENT AND CONTINUED ENROLLMENT IN

THE IHCP, THE UNDERSIGNED, BEING THE PROVIDER OR HAVING

THE SPEC[FIC AUTHORITY TO BIND THE PROVIDER TO THE TERMS

OF THIS AGREEMENT, AND HAVING READ THIS AGREEMENT AND

UNDERSTANDING IT IN ITS ENTIRETY, DOES HEREBY AGREE TO

ABIDE BY AND COMPLY WITH ALL THE STIPULATIONS, CONDITIONS,

AND TERMS SET FORTH HEREIN.

34. Among the “stipulations, condition and terms set forth” in the agreement,
compliance with which is specifically identified as a condition of payment, is the following: “To
abide by the lndiana Health Coverage Programs Provider Manual, as amended from time to time,
as Well as all provider bulletins and notices”

35. In Indiana, Medicaid is funded approximately one-third by the State of lndiana
and two-thirds by the federal government For example, for FY2015, the federal government

assistance percentage (“FMAP”) for lndiana is 66.52%, meaning the state is responsible for the
remaining 33.48%. The FMAPs from 2009 to the present are:
FY2008 62.69% 37.31%

FY2009 74.21% 25 .79%
FY2010 75.69% 27.31%

FY2011 66.52% 33.48%
FY2012 66.96% 33.04%
FY2013 67.16% 32.84%
FY2014 66.92% 33.08%

 

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36. One of lndiana Medicaid’s programs is Hoosier Healthwise. Hoosier Healthwise
is a mandatory managed care program for low-income families, pregnant women, and children
Those eligible for Medicaid coverage under Hoosier Healthwise include children up to age 19,
parents and guardians of children under the age of 18, and pregnant women Under Hoosier
Healthwise, the lndiana Family and Social Services Administration, Office of Medicaid Policy
and Planning contracts with three managed care entities: Anthem, Managed Health Services
(“MHS”), and Defendant MDwise. Beneficiaries are entitled to select from among the three
options or may be assigned membership to one entity through an automated system.

Specific lndiana Medicaid Regulations Regarding the Use of Non-Physician Providers
for High -Risk Obstetric Patients

37. lndiana Medicaid plainly and unequivocally conditions the payment of` public
healthcare money for the treatment of medically high-risk pregnant women on the requirement
that those women be treated only by physicians

38. Chapter 8, page 8-329 et seq., of the IHCP Provider Manual (as updated on
January 23, 2014),2 specifically addresses billing requirements for high-risk pregnancies The
IHCP Provider Manual distinguishes between psychosocially high-risk pregnancies and
medically high-risk pregnancies F or purposes of this complaint, the term “high-risk” refers only
to medically high-risk patients ln reference to medically high-risk patients, the IHCP Provider
Manual specifically states,

Some pregnant members have medical risk factors that may adversely affect the

outcome of the pregnancy if not adequately treated. These complications

identified during the prenatal assessment, may place the member and the fetus in a

high-risk pregnancy category that requires additional primary care management

The IHCP reimburses only for treatment by physicians for medically high-
risk pregnancy care. Nonphysician providers that treat pregnant women on

 

2 http://provider.indianamedicaid.com/ihcp/manuals/chapter08.pdf

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Medicaid must refer members identified as having medically high-risk
pregnancies only to other appropriate physicians The IHCP does not permit
treatment or referrals to nonphysicians for high-risk pregnancy-related
services

(Emphasis in original.)
39. The 2010 IHCP Provider manual included nearly identical language, stating,

Some pregnant members have medical risk factors that may adversely affect the
outcome of the pregnancy if not adequately treated. These complications
identified during the prenatal assessment, may place the member and the fetus in a
high-risk pregnancy category that requires additional primary care management
The IHCP reimburses only for treatment by physicians for medically high-risk
pregnancy care. Some pregnant members have medical risk factors that may
adversely affect the outcome of the pregnancy if not adequately treated. These
complications identified during the prenatal assessment, may place the member
and the fetus in a high-risk pregnancy category that requires additional primary
care management The IHCP reimburses only for treatment by physicians for
medically high-risk pregnancy care. Providers may refer members identified as
having medically high-risk pregnancies only to other appropriate physicians The
IHCP does not permit referrals to nonphysicians for high-risk pregnancy-related
services Providers in the Care Select program participating in a Memorandum of
Collaboration agreement my provide care for patients as defined in the agreement

Chapter 8, page 8-300 , 2010 IHCP Provider Manual (as updated on Aug. 26, 2010).3

40. As of 2010, an expectant mother must have two or more medical risk factors in
her current pregnancy or obstetrical history to be considered medically high-risk. Prior to 2010,
only one medical risk factor was necessary for a pregnancy to be deemed high-risk. The 2014
IHCP Provider Manual includes more than fifty common high-risk pregnancy conditions but
notes that the list is purely illustrative and not inclusive of all medical conditions that could
complicate a pregnancy. Examples of the conditions presented are anemia, asthma requiring

medication, diabetes (gestational or insulin-dependent), drug dependence, a history of low birth-

 

3 http://provider.indianamedicaid.com/media/23576/chapter08.pdf

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weight babies multiple gestation in current pregnancy (i.e. twins triplets, etc.), obesity more
than 20% of Weight for height, hypertension, or a previous Caesarean delivery (“C-section”).

41. Providers are required to fill out a Notification of Pregnancy (“NOP”) form to risk
factors in pregnant Medicaid patients NOPs are preferably filled out at the patient’s initial
assessment, but can be completed at any time during a pregnancy if a patient develops conditions
that Would change her risk status A provider is paid $60 every time an NOP is completed and
submitted to Medicaid.

42. lf a woman has a medically high-risk pregnancy and a NOP is completed
documenting the risk factors the healthcare provider is entitled to receive additional funds for
that patient, including an additional $10 per prenatal visit and additional prenatal visits beyond
the otherwise-standard maximum of fourteen The IHCP Provider Manual notes that the IHCP
“recognizes that care of pregnant women in the medical high-risk category requires greater
physician managemen ” and thus provides for these additional payments to “physicians
practicing obstetrics”

43. Certified Nurse Midwives are specifically identified as “nonphysicians” in the
lndiana Medicaid provider enrollment packet Certified Nurse Midwives (“CMNs”) are required
to graduate from an accredited midwifery school, pass the national exam given by the American
College of Nurse-Midwives, and obtain licensure as a nurse-midwife from the lndiana State
Board of Nursing. The practice of nurse-midwifery is governed by Title 848, Article 3 of the
lndiana Administrative Code. Nurse-midwifery is “the practice of nursing and the extension of
that practice, including well-woman gynecological healthcare, family planning, and care to the
normal and expanding family throughout pregnancy, labor, delivery, and post-delivery.” 848

lAC 3-1-2. The competent practice of nurse-midwifery includes the following relevant

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standards: utilize advanced skills and knowledge to identify abnormal conditions and diagnose
health problems; make appropriate decisions commensurate with the scope of the practice of
nurse-midwifery; function within the legal boundaries of the practice of nurse midwifery; and
consult and collaborate with other members of the healthcare team. 848 IAC 3-3-1.
Federally Qualified Health Centers

44. A Federally Qualified Health Center (“FQHC”) is a health center that receives
federal funding under Section 330 of the Public Health Service Act to provide comprehensive
primary care services to uninsured and underinsured populations FQHCS have featured an
increasingly prominent role in public health services since the 2010 Patient Protection and
Affordable Care Act, because FQHCs have picked up much of the responsibility for treating
underserved, low-income communities where there was the largest growth of newly-insured
patients FQHCS must serve an underserved area or population, offer a sliding fee scale, provide
comprehensive services have an on-going quality assurance pro gram, and have a governing
board of directors

45. Approximately 22 states including Indiana, offer “wrap-around” payments to
compensate FQHCs for the difference between the negotiated health plan rates and the FQHC’s
cost-based rates Wrap-around payments are paid by the state as supplements to certain
approved Medicaid claims In Indiana, wrap-around payments are made to an FQHC every 30
days and reconciled at the year-end.

46. FQHCS require a provider to engage in a face-to-face meeting to generate a
billable encounter that can generate an FQHC wrap-around payment 42 C.F.R. 405.2463. ln a
2011 Policy Report assessing the status of FQHC Medicaid Prospective Payment Systems

around the country, lndiana defined a “Billable Encounter (that can generate a payment at health

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center rate)” as “a face-to-face contact between a client and a provider of health care services
who exercises independent judgment in the provision of health services to the individual client.”4
Disproportionate Share Hospitals

47. The Disproportionate Share Hospital (“DSH”) program is a funding mechanism
for hospitals that treat indigent patients ln accordance with the Omnibus Budget Reconciliation
Act of 1981, states are required to make DSH payments to hospitals that serve a disproportionate
share of low-income and/or underinsured patients Similar to standard Medicaid payments the
federal government contributes to the DSH payment through the Federal Financial Participation
(“FFP”) amount, which is capped by the total statewide DSH payment limits and hospital-
specific limits FFP is not available for state DSH payments that exceed the hospital’s eligible
uncompensated care cost, which is the cost of providing hospital services to Medicaid and
uninsured patients less the payments received by the hospital on behalf of those patients

48. A state must classify a hospital as eligible to receive DSH payments Although
the requirements are complex, a hospital is typically designated as a DSH if its Medicaid
Inpatient Utilization Rate (“MIUR”) or Low-lncome Utilization Rate (“LIUR”) exceeds a fixed
threshold, Which is typically one percent

49. With limited exceptions for children’s hospitals or hospitals not providing
obstetrics services to the general population, the DSH statute specifically states that, “no hospital
may be defined or deemed as a disproportionate share hospital under a State plan under this

title. . .unless the hospital has at least 2 obstetricians who have staff privileges at the hospital and

 

4 McKinney, Dawn, et al., “State Policy Report #40: 2011 Update on the Status of the Medicaid
Prospective Payment System in the States,” NATIONAL ASSOCIATION OF COMMUNITY HEALTH
CENTERS, accessed at

http://www.nachc.com/client//ZO1 1%20PPS%20Rep0rt%208PR%2040.pdf

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who have agreed to provide obstetric services to individuals who are entitled to medical
assistance for such services under such State plan.” 42 U.S.C. § 1396r-4(d). The statute does
not provide minimum employment requirements for any other provider specialty.

50. Payments under the DSH program are substantial By way of example, lndiana
reported that lU Health received the following DSH and other Medicaid “add-on” or

supplemental payments from the state under lAC 12-15-16(1-3):

 

 

 

 

 

 

 

 

 

 

    

Year Name Amount
2010 Clarian Health $165,000,000
Partners lnc.*
2010 lU Health $42,155,265
2011 Clarian Health 114,760,764
Partners Inc.
2011 IU Health 41,639,236
2011 lU Health 44,921,405
2011 lU Health 42,765,996
2012 IU Health 63,261,000
2012 lU Health** 474,235,000
2013 IU Health*** 185,806,000
Assessment**** ($268,276,000)
' Total $906,268,666

 

 

 

 

* IU Health was formerly known as Clarian Health Partners lnc.

** Total of increased DSH revenue received in 2012, which includes
reimbursements for multiple years

*** Total of increased DSH revenue received in 2013, Which includes
reimbursement for multiple years

**** In April 2012, the lndiana Attomey General Assembly approved a hospital
assessment fee program. Under the program, the Office of Medicaid Policy and
Planning (“OMPP”) collected an assessment fee from hospitals The fee was to
be used to increase reimbursement to eligible hospitals for fee-for-service and
managed care programs and as the state share of DSH payments lt was
retroactive to July 1, 2011.

Anti-Kickback Statute
51. The federal Anti-Kickback Statute (“AKS”) creates a penalty for any person who
knowingly and willfully offers or pays any remuneration, directly or indirectly, overtly or

covertly, in cash or in kind, (1) to refer an individual to a person for the furnishing or arranging

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of an item or service for which payment can be made in part or in whole under a Federal health
care program, or (2) to purchase, lease, order or arrange for or recommend purchasing, leasing,
or ordering any good, facility, service or time for which payment may be made in Whole or in
part under a Federal health care program. 42 U.S.C. § 1320a-7b(b)(2). The commission of such
an act is a felony punishable by a fine of $25,000, five years in prison or both. Id. Any
individual who solicits or receives such an offer is equally liable and faces the same punishment
42 U.S.C. S l320a-7b(b)(1).

52. Compliance With the Anti-Kickback Statute is a precondition to participation in
any federal healthcare program, including Medicaid.

DEFENDANTS’ WRONGFUL CONDUCT

53. Expressly motivated by a desire to minimize costs and maximize revenues
Defendants IU Health and HealthNet have structured their obstetrics business in such a way that
it not only causes the submission of false claims but also poses a risk of permanent, devastating
injuries for pregnant women and their babies Defendants collectively operated a complex
scheme to tunnel obstetric patients into MDwise as the managed care entity responsible for
distributing Medicaid reimbursement, and to maximize Medicaid reimbursements by using
certified nurse midwives and nurse practitioners (collectively “nonphysicians”)$ to treat all
obstetric patients regardless of risk factors that mandate physician involvement Defendants
also collaborated to submit claims for FQHC payments for services that were performed without

an appropriate provider conducting a face-to-face visit with the patient Finally, MDwise

 

5 The majority of nonphysician care involved in this complaint relates to the use of certified
nurse midwives. However, nurse practitioners also provided care to high-risk patients beyond
the scope of their credentials and despite the IHCP Provider Manual’s prohibition For
simplicity in pleading, the term “CNM” or “nurse-midwife” incorporates nurse practitioners as
well, unless otherwise stated.

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knowingly failed to identify and reject the false claims submitted under physician names but
actually conducted by nonphysicians.

54. Defendants’ fraudulent conduct began or was already on-going in 2005 when Dr.
Robinson began working at HealthNet. Therefore, all claims submitted since 2005 to the present
by lU Health, HealthNet or MDWise as part of the fraudulent schemes described herein are false
claims
Nonphysicians are used to treat high-risk obstetric patients in HealthNet clinics

55. As the State of lndiana specifically notes in the Medicaid IHCP Provider Manual,
prenatal care is critically important in reducing the risk of pregnancy complications and infant
mortality because, with competent and comprehensive treatment, conditions that can negatively
impact the pregnancy or the health of the woman or the baby can be identified early. For many
conditions early diagnosis and treatment are essential to a positive outcome. Typically, prenatal
care involves regular screenings and tests measurements exams fetal heart monitoring, and
weight-checks among other thing The higher risk the pregnancy, the greater the necessity for
close management and skillful treatment

56. HealthNet employs a policy that requires that CNMs provide nearly all prenatal
care to its patients HealthNet promotes its Midwifery Program as the largest midwifery practice

. in the state of lndiana with 21 CNMs on staff.6 Mary Blackburn (“Blackburn”), CNM, is and at
all times relevant to this complaint, was the manager of HealthNet’s nonphysician-provider
group. ln a “Frequently Asked Questions” section on the HealthNet website, HealthNet

provides inter alia, the following questions and corresponding answers

 

6 http://www.indyhealthnetorg/OBGYN-Services/

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Is it safe to use a nurse-midwife?

The American College of Nurse-Midwives which certifies nurse-midwives
reports “nurse-midwifery care has outcomes that are equal to that of physicians
with the same type of patients.”

Will I ever meet a doctor?

Most women do not see a physician during their pregnancy or birth. However, a
physician is available at all times for consultation If obstetrical or general
medical complications arise, a physician will become involved in your care
alongside the HealthNet nurse-midwives

Where will I give birth?
Births are attended by the HealthNet nurse-midwives at Methodist Hospital. . ..

What if complications arise?

lf a woman develops a serious health problem or high risk complication during

her pregnancy or in labor, her care may need to be transferred completely to the

obstetrician. If the problem is less serious she may be collaboratively managed by

both the nurse-midwives and the physicians

Will my insurance pay for nurse-midwife care?

Yes, most insurance companies reimburse nurse-midwives. We can help you to

obtain the necessary information to verify coverage.

57. Despite the passing acknowledgement that certain “serious health problem(s) or
high risk complication(s)” merit the treatment by or consultation with a physician, CNMs
performing prenatal care in the HealthNet clinics knowingly and intentionally fail to notify or
consult with physicians when a patient is determined to have two or more medical complications
which would cause the patient to be identified as high-risk. Additionally, within the HealthNet
clinics an intake staff member such as a medical assistant or registered nurse completes the
lndiana Medicaid NOP and does not identify a patient as high-risk, so Medicaid is not put on
notice that the patient should only be treated by a physician As a result, the HealthNet clinics

have created a system whereby CNMs routinely provide and bill for care to high-risk patients

without notifying Medicaid that the patient is high-risk and therefore should only have received

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care from a physician lf HealthNet properly coded the patients as high-risk, the CNMs’ prenatal
care would not be reimbursable by Medicaid.

58. Upon information and belief, about 90% of the prenatal visits conducted at
HealthNet and IU Health are performed by nonphysicians Based on Dr. Robinson’s personal
experience as both Medical Director and a physician serving the patient population targeted by
Defendants between 70% and 90% of the obstetric patients served by HealthNet and lU Health
have two or more conditions that put them at risk for either preterrn birth or poor pregnancy
outcome, thus placing them in the IHCP medically high-risk category.

59. The policy of using CNMs to treat high-risk patients Was developed by HealthNet
Chief Medical Officer Don Trainor, but was approved and jointly implemented by IU Health '
executives because the systems Work in tandem to provide prenatal care. ln a Feb. 1, 2011
email from Trainor to Dr. Robinson and several other staff members Trainor rhetorically asked
himself, “So why a predominately Midwfery model, even still with more CNMs than Ob/Gyns?”
Trainor answered his own question: “The first [reason] is largely financial.” He continued,
“CNMs get paid 1/3 - 1/2 what Ob/Gyns get paid but FQHCs get paid the same amount by
Medicaid (our primary payor) regardless of who provides the care.” (ln 2010, CNMs were paid
an average of $108,632, while Ob/Gyn physicians were paid an average of $349,976.)

60. ln the HealthNet clinic settings CNMs treated as many patients as possible,
regardless of the patients’ risk status On Aug. 11, 2011, CNM Patricia Fumer responded to an
email from Dr. Robinson inquiring about the amount of support staff available during each shift
Fumer described the role of registered nurses and medical assistants during her shifts and stated,
“l could not see the volume of patients l see safely at this time With the high risk nature of many

of them with diabetes hypertension, mental illness etc Without these people.”

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61. Even though Dr. Robinson was officially the Director of Women’s Services at
HealthNet, Blackbum, as the head of the midwifery program, told Dr. Robinson on multiple
occasions that doctors should not interfere with the nurse-midwives’ practices By way of
example, on Feb. 20, 2013, Dr. Robinson, Blackburn and another CNM Carrie Bonsack had a
meeting in Dr. Robinson’s office adjacent to Methodist Hospital’s Labor & Delivery unit
Blackburn physically approached Dr. Robinson, shook her finger and said, “This is a midwife
practice, so we decide what patients you docs will see and who you won’t see and we will decide
what you need to know about them and what you don’t need to know. Do you understand me?
This is a midwife practice and you doctors need to stay out of it unless we tell you otherwise lf
you don’t understand this you need to talk to Don (Trainor) and he will set all you doctors
straight Now, stay out of it!” Bonsack asked Blackburn to calm down and sit back down in her
chair following the outburst

62. Despite the large number of high-risk pregnant patients the HealthNet electronic
medical records system only provides two options to code a new patient at the initial visit,
“pregnancy normal” or “pregnancy incidental.” “Pregnancy incidenta ” would only be used if a
patient presented with a non-pregnancy related concern but also happened to be pregnant
therefore all patients presenting to a HealthNet clinic for prenatal care have to be coded as
“pregnancy normal.” Patricia Fumer, a CNM and the former Midwife Manager, stated in an
email to Dr. Robinson on Aug. 13, 2011, “l am not sure we do accurate high risk vs low risk
coding so I don’t think that helps us l am not sure if you are aware but the history nurses only
have 2 choices for starting a new OB-normal pregnancy or pregnancy incidental. So most
patients get marked normal pregnancy in the history and the providers never change the

diagnostic code so the accuracy of this is questionable for determining risk.”

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63. HealthNet clinics do not always have a physician physically present at the facility.
By way of example, for the week ending Aug. 30, 2013, 123 prenatal visits occurred at
Barrington Health Center, one of the HealthNet clinics serving indigent pregnant women around
lndianapolis During the week, there was no physician presence at the clinic at all, so all 123
prenatal visits were conducted by nonphysicians, regardless of the patient’s risk factors That
same week, 176 prenatal visits occurred at Southwest Health Center, another HealthNet clinic,
A physician was at that clinic for only one day and saw 22 patients the bulk of Whom were
gynecological, not obstetric patients Nonphysicians, then, performed at least 154, and possibly
more, prenatal visits Therefore, for that week, every claim for a high-risk patient from the 154
nonphysician visits at Southwest and 123 nonphysician visits at Barrington was false and
ineligible to be paid.

64. If a physician is physically present at a HealthNet clinic, he or she is typically
assigned to gynecological patients almost exclusively, allowing nonphysicians to perform
essentially all prenatal care. This business model necessarily results in CNMs practicing outside
the scope of their licensure by managing the care of pregnancies that fall well outside the norm.
By way of example, Dr. Robinson recalls an instance in or around June 2010 When she was
assigned to diagnose a teenager’s vaginal discharge, while, she later learned, a CNM in the room
next door treated a medically high-risk Woman pregnant with gestational diabetes and
preeclampsia who was carrying twins

65. As an individual example, patient C.F., a Medicaid beneficiary, was seen at Care
Center at the Tower, another of HealthNet’s clinics She presented with multiple health risks
including asthma, diabetes obesity, tobacco use, substance use, anemia, sickle cell trait, and

recurrent first-trimester pregnancy loss Any two of these complications would place her in the

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IHCP’s medically high-risk category. C.F. was seen by a nonphysician for her initial visit on
Oct. 15, 2013, and for each of her four subsequent visits on Nov. 7, 2013, Nov. 19, 2013, Nov.
25, 2013, and Dec. 3, 2013. The patient ultimately transferred to another provider in
lndianapolis complaining that she never saw a doctor at HealthNet. All claims submitted to
Medicaid for C.F.’s prenatal care at HealthNet were false and ineligible for payment
Nonphysicians are used to treat high-risk obstetric patients at Methodist Hospital.

66. HealthNet and lU Health also use CNMs to perform vaginal deliveries of hi gh-
risk patients at Methodist Hospital without physician consultation, authorization or oversight
According to HealthNet’s 2012-13 annual report, HealthNet employees delivered 2,422 babies at
IU Health that year, including both vaginal and C-section deliveries Upon information and
belief, approximately 22% of all deliveries performed at Methodist Hospital are done by C-
section. C-section deliveries are performed by a physician and are not at issue in this Complaint

67. Virtually all vaginal deliveries are performed by CNMs irrespective of the
patient’s risk status However, upon information and belief, every claim for delivery is
submitted under a physician’s National Provider ldentifier (“NPI”), Which is a ten-digit numeric
identifier used by CMS to identify healthcare providers

68. Blackburn and Trainor informed Dr. Robinson in or about October, 2011, that
Medicaid reimburses midwives approximately 75% of what doctors are paid for obstetric
services including deliveries Blackburn and Trainor explained to Dr. Robinson that this is why
IU Health and HealthNet need to submit all claims co-signed by a physician along with the
nonphysician Blackburn and Trainor explained that both signatures indicated the collaborative
practice and physician supervision, and Dr. Robinson objected that such a representation was not

true because there Was little to no physician supervision or involvement Blackburn and Trainor

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informed Dr. Robinson that it was not an area that she needed to be concerned about Dr.
Robinson did not know that the bills were submitted in the physician’s name as though the
physician had performed the delivery.

69. To conceal their fraudulent business model in the hospital setting, HealthNet and
IU Health developed a system where CNMs complete the appropriate billing paperwork after
each triage or delivery visit An Ob/Gyn physician would review and sign off on all of the charts
at the end of the shift regardless of whether the physician actually saw the patient Dr. Robinson
and, upon information and belief, the other physicians understood that the physician signature
was a simple acknowledgement that the visit, treatment or delivery had occurred. Aiier her
tennination, Dr. Robinson read a “white paper” published by Blackburn in January 2013, Where
Blackburn stated, “Ofien CNM services may be billed under the physician at institutions Where a
physician is present; some believe that these arrangements are needed in order that some
practices may be economically viable.” After reading this Dr. Robinson came to understand that
IU Health and HealthNet used the doctor’s signature to bill for the service in the doctor’s name.

70. HealthNet and IU Health knew that treatment of high-risk patients is outside the
scope of a CNM’s licensure and is not reimbursable under the plain language of the IHCP
Provider Manual. Not only are the licensure and reimbursement requirements plainly stated in
the statutes and IHCP Provider Manual, but, upon information and belief, HealthNet COO Elvin
Plank specifically raised concerns about using nonphysicians to treat high-risk patients with
HealthNet and IU Health executives in or around October 2011.

71. Additionally, executives at Methodist Hospital were contacted by executives at
another lndianapolis hospital, Community Hospital, in or around November 2011after

Community was informed by lndiana Medicaid that it would not reimburse Community for using

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CNMs to treat high-risk patients While Community ceased the practice and had to terminate
several of its CNMs IU Health and HealthNet continued their practice.

72. As discussed herein at 11 38 , supra, the IHCP Provider Manual specifically
addresses the unique needs of high-risk obstetrical patients and mandates that IHCP will only
reimburse physicians for the treatment of high-risk patients Therefore, every claim submitted in
a CNM’s name for a patient that was improperly not identified as high-risk, or in a physician’s
name for the treatment of a high-risk patient wherein the treatment was actually conducted by a
CNM, is a false claim because (l) it exceeds the licensure of a CNM, (2) it is falsely submitted
under a physician’s name when it was provided by a CNM, and (3) high-risk prenatal care is not
eligible for reimbursement if provided by a CNM as expressly provided in the IHCP Provider
Manual.

Examples of Patient Harm and “Near-Misses” as a Result of
CNMs T reatin g High-Risk Obstetric Patien ts

73. On November 14, 2010, Ob/Gyn physician Dr. Kendra Kamer sent an email to
Drs. Robinson and Trainor, and other physicians with the simple subject line, “HELP.” Dr.
Kamer detailed a hospital shift from November 11, 2010, Which she described as “chaos” due to
the understaffing of physicians in the labor and delivery unit at Methodist Hospital. Dr. Kamer
wrote, “l can honestly say that l truly did not know our service. l did not physically lay eyes on
at least 4 of the high risk patients and did not Write notes on several until 8 pm.” After
summarizing the chaotic shift and a similar shift the following day, Dr. Kamer concluded with,
“It is clear to me that we are not staffed to optimize patient safety, physician safety, or patient
satisfaction Thursday and Friday were not unique days Those situations are becoming more

and more common.”

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74. Despite Dr. Kamer’s pleas which echoed similar requests Dr. Robinson made to
HealthNet and IU Health executives in 2010, the risks of patient harm continued as a result of
CNMs seeing patients in lieu of a physician Dr. Robinson personally observed the following
examples of patient harm or “near misses” as a result of improper medical care by CNMs on
high-risk obstetrical patients Upon information and belief, care for all of these patients was
billed under a physician’s name, but was actually provided by unqualified CNMs:

a. L.E., a Medicaid beneficiary, had a history of preterm labor, preeclampsia,
anti-Kell antibodies and a previous C-Section. Preeclampsia is a condition that
can develop during pregnancy when there is a sharp rise in blood pressure,
swelling, and excess protein in the urine; if untreated, it can lead to eclampsia,
which can cause convulsions coma and death. ln addition, if left untreated,
preeclampsia can affect the neurological development of the baby. When a
woman’s tests indicate that she has anti-Kell antibodies the baby may develop
hemolytic disease of the newbom, Which is a condition where the mother’s anti-
Kell antibodies pass through the placenta and attack the red blood cells in the fetal
circulation This can lead to anemia and, in severe cases fetal death from heart
failure. Although any two of L.E.’s risk factors would qualify her as having a
high-risk pregnancy, she did not see a physician until her fifth prenatal visit L.E.
went into labor and was delivered at 25 weeks The baby had a prolonged stay in
the Neonatal Intensive Care Unit at an average cost of $3,000 per day, but
ultimately died from severe prematurity.

b. S.B., a l9-year-old Medicaid beneficiary, did not see a doctor at all during

her prenatal care, despite suffering from persistent hypertension that required a

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prolonged hospital stay. S.B. developed severe preeclampsia, which placed her in
the high-risk category, but a CNM did not admit the patient for observation,
assessment or delivery, nor seek a physician consultation7 lnstead, the CNM
unilaterally made the determination to send the patient home and an electronic
message was sent late on a Friday afternoon asking for a physician to review the
chart By pure coincidence, Dr. Robinson saw that message, immediately
determined that the patient Was in real and immediate danger, and admitted her.
At 36.3 weeks for her safety and that of her baby, S.B. required and received an
urgent C-Section.

c. T.W., a 40-year-old Medicaid beneficiary, did not have her prenatal care
managed by a physician, despite her advanced maternal age and the fact that she
had abnormal quad screen, two factors which placed her in the medially high-risk
category. A quad screen is a genetic test performed between weeks 16 and 18 of
a pregnancy, and the results of the test are combined with the mother’s age and
ethnicity in order to assess the likelihood of certain potential genetic disorders in
the baby. Because it is a screening test and not a diagnostic test (that is the
results will indicate the probably risk of an abnormality but will not rule it in or
out definitively), an abnormal quad screen should be followed by diagnostic tests
right away. This is important for several reasons not least because there are

interventions for some abnormalities that, to be successiirl, must occur while the

 

7 lt is beyond the scope of a nurse-midwife’s licensure to admit or discharge a patient without
physician collaboration, but Mary Blackbum, the head of the Nurse-Midwifery program, directed
her CNMs that they were permitted to admit and discharge patients without consultation with a
supervising physician

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baby is still in utero. In addition, if a baby does receive a definitive diagnosis of a
severe abnorrnality, the parents can make informed decisions about whether to
continue with the pregnancy and how to structure their lives for the arrival of a
child with special needs At 38 weeks far too late for either intervention or
informed decision-making, T.W. had an ultrasound which Was highly abnorrnal,
which showed severe growth retardation with elevated umbilical dopplers,
indicating that the baby needed to be immediately delivered. Only at that point, a
physician was called in to give T.W. the news of her baby’s condition and to
schedule delivery,

d. A.B., a Medicaid beneficiary, had gestational diabetes and a history of
previous C-Section, making her a clear high-risk patient However, the CNMs
providing her care supported and encouraged her desire to only be managed by
midwives and to have a VBAC (a vaginal birth after a C-Section), and she was
only seen once by a physician during her prenatal care Notably, the primary risk
associated With a VBAC delivery is a uterine rupture. A.B was admitted to the
hospital in labor, at which point a physician was contacted. Despite the
physician’s advice for a C-section, the patient refused because she did not trust
doctors in general and because her desire to have a midwife had been supported
all throughout her prenatal care. A.B. refused a C-Section. Her uterus did rupture
during delivery, and the baby is permanently neurologically impaired. After the
delivery, one of the treating CNMs Blythe Kinsey, emailed Dr. Robinson the
following email, in which she acknowledged that she “did not feel it was

necessary” to have a physician consult With A.B. during prenatal care, Which may

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have given the doctor an opportunity to engage the patient and allay her anxiety

about having a C-section.

 

From: Kinsey, Blythe N

Sent: Mon 9/10/2012 8:29 AM
To: Robinson, Judith A
Subject: Uterlne Rupture

Hi Judy,

| wanted to check in with you about Aq !. Anthony said you had some concerns about how
little saw a MD at Barrington. l]us wan e to let you know that at her last appt. we had a
conversation about the fact that many things were stacking up to make our goal a healthy baby and
With the size and the diabetes l was feeling more concerned about her chance for a VBAC. She had
very well controlled sugars throughout her pregnancy and with how hard it is to get patients in with an
MD, and the fact that she really wanted Midwifery care l did not feel it was necessary. l did tell her
she would need to see Dr.Seitz next week to further discuss if she continued to be a VBAC candidate
and to come up with a plan of care. From what | hear much ofthe anger and difficulty came from her
husband who l only met at the NewOB appt. l am so sad about the outcome and have talked to her
on the phone yesterday and am planning to spend time with her today- workflow permitting Just
wanted to let you know...

~B|ythe

 

 

e. N.K., a Medicaid beneficiary, never saw a doctor during her prenatal care.
She was admitted to the hospital at 40.6 weeks for induction of labor due to
gestational hypertension The overlong duration of her pregnancy and her
hypertension put N.K. squarely in the Medicaid medically high-risk category.
The CNM who managed her care at the hospital, with no physician involvement
sent N.K. horne after two days of induction because there was no change in her
cervix. N.K. returned to the hospital two days later in early labor, She was
placed on the fetal monitor in triage, and a highly abnormal fetal heart rate tracing
was noted. Only then was a physician notified, and an emergency C-Section was
performed The baby is permanently neurologically impaired. After delivery,
various physicians reviewed the monitor strip from N.K. ’s initial two-day
admission for induction and determined that, with the abnormal tracing that was

evident at the time, N.K. never should have been sent home.

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75.

f. J.W., a Medicaid beneficiary, had at least two medically compromising
conditions she was morbidly obese and she had gestational_possibly chrome _
hypertension J.W. was not seen by a physician during her prenatal care until she
was more than 37 weeks Upon examining J.W. and reviewing her chart, the
physician suggested that the baby’s heart be monitored. A long heart deeeleration
was seen and J.W. was immediately sent to the hospital, where she received an
emergency C-seetion.

g. L., a Medicaid beneficiary, entered triage with multiple medial high-risk
factors: at 36 weeks she had uncontrolled insulin-dependent diabetes poorly
controlled gestational hypertension, and eholestasis of pregnancy, a condition
where the flow of bile slows or stops creating elevated levels of maternal bile,
which causes stress on the baby’s liver. This can lead to fetal distress pre-term
birth, or stillbirth. Typically, close monitoring is required, and induction after the
baby’s lungs have matured (typieally at 36 weeks) is recomrnended. These
medical conditions placed L. squarely in the high-risk category. However, she
Was assessed in triage by a CNM, identified as “supervision normal pregnancy” in
her records and sent home with no physician involvement or an intervention plan
Dr. Robinson was working an in the OBCC HealthNet clinic and was alerted to
this patient by a concerned registered nurse. Dr. Robinson found out which CNM
was scheduled to see the patient and took over the care by sending the patient to
the hospital for immediate delivery.

On April 27, 2013, Dr. Robinson emailed CNMs Blackburn and Bonsack with a

request that the CNMs meet with Dr. Robinson and with the entire Ob/Gyn physician group at an

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upcoming meeting. The email, copied to Trainor and other executives explained, “We, as
leaders in the HealthNet Ob/Gyn services need to help devise a process to fix a broken

system. . .we need to work together to ensure excellence in patient care and safety. Including the
situation Dr. Bowsher encountered from last night, we are now up to 14 documented near misses
and 2 terrible outcomes . .all within the past 6-8 months l know you will agree with me that this
is unacceptable.”

76. Despite Dr. Robinson’s reference to at least sixteen instances of a risk to patient
safety, Trainor responded to Dr. Robinson’s email on April 27, 2013, stating, “Judy, lbelieve
these meetings you are requesting are premature.”

7 7. Dr. Robinson has provided additional and ongoing examples of patient harm and
near-misses to the Government, including an example from July 2014 in which a Medicaid
beneficiary presented to a HealthNet clinic at 37 weeks gestation with elevated blood pressure
Her other risk factors included morbid obesity and a neurologic condition called Amold Chiari
malforrnation (a brainstem abnormality) for which she had previously undergone surgery. The
patient was assessed by CNMs at Methodist Hospital’s triage unit and determined to be
preeclamptic. Despite all of the risk factors nurse-midwives continued to manage her care
without physician oversight and initiated the induction process During early labor, a CNM
permitted the patient to eat pizza. The patient ultimately needed to receive general anesthesia for
an emergency C-Seetion, and because of the pizza in her stomaeh, she aspirated While under
anesthesia and died. Her baby survived but suffered permanent neurological impairment
HealthNet operates a triage clinic inside Methodist Hospital.

78. ln addition to providing prenatal care via its elinics, HealthNet staffs a triage

center on the labor and delivery floor of lU Health’s Methodist Hospital, the hospital where all

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of HealthNet’s patients deliver. Upon information and belief, the HealthNet triage unit has
approximately 7,000 triage visits per year,

79. The triage center serves primarily as a facility for HealthNet patients to be
assessed to determine whether they are in active labor and need to be admitted to Methodist
Hospital for delivery, The 24-hour triage unit is also used as an after-hours prenatal clinic where
HealthNet patients can be seen for all types of pregnancy-related issues such as nausea, false
labor, decreased fetal movement or generalized pain

80. The triage center is exclusively staffed by CNMs; it is not routinely staffed by a
physician Therefore, all patients regardless of risk factors are treated by CNMs unless a
physician is specifically called in to provide treatment A physician will only actually see a
patient or perform any type of supervision if the CNM determines that physician involvement is
necessary and requests a consultation or evaluation

81. Based on Dr. Robinson’s experiences a physician is consulted in approximately
10% of patient visits in the triage center.

82. When any patient enters the triage unit, a CNM evaluates her and completes a
billing sheet, complete with the level of service and diagnostic codes Stapled to that sheet is a
“face sheet” for the patient, which includes the patient’s name, date of birth, social security
number, billing address insurance, and her primary physician and admitting physician’s name.
After the patient is seen by a CNM in triage, the billing sheet and face sheet are placed in a
designated file drawer. The Ob/Gyn physician on call signs the sheets upon completion of a 24-
hour call shift A HealthNet courier then collects the sheets and delivers them to the HealthNet

billing department

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83. Upon information and belief, HealthNet and IU Health bill all triage visits under
the on-call physician’s NPI despite the fact that the treatment is not provided by the physician
and the physician may not have even been in the triage center at the time of the patient’s visit

84. ln addition to the submission of claims for treatment performed by a CNM but
billed as though performed by a physician, HealthNet also bills a “consultation (or physician
consultant) fee” for all or most triage center visits

85. ln or around June 2010, Dr. Robinson engaged in a conversation With Martha
Allen, the Nursing Director for Methodist and University Matemity Centers (now combined into
IU Health’s Methodist Hospital). Allen stated to Robinson that, “When the HealthNet triage
CNM model Was developed in 2005, research was done as to how the greatest financial return
could be captured. The decision was made that IU Health would allow HealthNet to do all the
billing for services as they could bill at a greater reimbursement rate from Medicaid by billing a
physician consultant fee.” Allen further stated that Dr. Keltner (a HealthNet Ob/Gyn hospitalist
and former Medical Director of the Ob/Gyn department) made the agreement Wherein lU Health
Would pay HealthNet for 2.5 CNM FTE’s (full-time equivalents) to help in staffing.

86. The IHCP’s Provider Manual defines a “consultation” as a “service provided by a
physician whose opinion or advice about evaluation and management of a specific problem is
requested by another physician or other appropriate source.” IHCP Provider Manual
Chapter 8, at 8-237 (bolded emphasis in original).8 The IHCP Provider Manual expressly states
that, “Providers should not use consultation codes for the evaluation of a self-referred or
nonphysician-referred patient A consultation implies collaboration between the requesting and

the consulting physician.” Ibid.

 

8 http://provider.indianamedicaid.com/media/23 576/chapter08.pdf

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87. Every claim to Medicaid for a “consultation fee” for treatment provided by
nonphysicians at the triage center, regardless of the patient’s risk factors was a false claim
because there were no consultation services provided as defined by the IHCP Provider Manual.

88. Additionally, upon information and belief, lU Health provides HealthNet with the
facilities for the triage center inside of Methodist Hospital for no rent, and provides all
equipment and supplies for the triage unit at no charge to HealthNet. (See Clarian Health’s
description of the arrangement between the Hospital and HealthNet in Dr. Robinson’s
employment agreement supra. at 1111 21-22.) Despite lU Health incurring all of the costs
associated with the triage center, HealthNet is permitted to keep the provider component of all of
the triage billings In exchange, HealthNet refers all of its obstetric patients to lU Health’s
Methodist Hospital for delivery. HealthNet patients are not given a choice to deliver at another
facility.

89. lU Health’s provision of a rent-free unit within Methodist Hospital (including
equipment and supplies to support the rent-free unit), payment of part of the staff expenses and
the payment of the provider fee to HealthNet are kickbacks designed to ensure HealthNet
continues to exclusively refer its large Medicaid patient population into lU Health’s Methodist
Hospital for labor and delivery, As a result of the fraudulent kickback relationship, lU Health
makes additional claims for labor and delivery services anesthesia services routine and
intensive care for newborn babies additional physician and professional services and additional
Medicaid DSH funds which it would not have received if not for the kickback relationship with
HealthNet.

HealthNet submits for FQHC payments when the provider did not conduct a face-to-face
encounter with the patient

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90. CNMs are permitted by the scope of their licensure to order routine ultrasounds as
part of the prenatal care of a normal pregnancy. However, it is beyond the scope of a CNMs
licensure to review and interpret the results of an ultrasound.

91. HealthNet developed a system where all ultrasound images were gathered in a
designated drawer or similar location within a HealthNet clinic. At the end of a shift, the
Ob/Gyn physician would take the ultrasounds from the drawer, review each ultrasound, and sign-
off on the review. lf the physician detected any abnormalities then the patient would be notified
by either the physician or HealthNet support staff. lf the physician did not detect any
abnormalities then the physician would sign the attached billing sheet and give the billing sheet
to the individual in each clinic who processed the claims This procedure was employed
regardless of whether the patient was high-risk or a normal pregnancy.

92. The physician who reviewed the ultrasound did not see the patient face-to-face in
association with the ultrasound review. However, each ultrasound review was billed to Medicaid
and subsequently submitted foran FQHC wrap-around payment as though a face-to-face
encounter with the physician occurred.

93. Trainor and former HealthNet COO Elvin Plank routinely referred to the
ultrasound review claims model as a “cash cow.” Trainor specifically explained to Dr. Robinson
that, “ultrasounds are reimbursed at the wrap-around rate and don’t need to take away a provider
from their usual Work.” Trainor stated to Dr. Robinson that this enabled HealthNet to “get the
biggest bang for [its] buc .”

94. ln 2011, T rainer sent an email to Dr. Robinson which stated that, with the wrap-
around payment, Medicaid paid HealthNet the same for a patient visit as an ultrasound read that

the physician could do between scheduled patients before patient, during lunch or at the end of

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the day - all times which would indicate that the physician would not have a face-to-face
encounter with the patient while reading the ultrasound. Trainor touted this as a benefit to the
physician, because the ultrasound reads would be counted towards the physician’s monthly

productivity.

 

From: Trainor, Dona|d

Sent: Sun 2/13/2011 1:32 PM

To: Robinson, Judith A; Thomas, Booker; Plank, Elvin
Cc: F|ick, Lawrence T

Subject: Re: important question

Thank you, Judy.

Baseline lVlD productivity expectations after the ist year working at HN are 2.75 pts/hr. averaged over
the course of a month. This works out to ~8.25 pts. |n a 3 hour morning and 11 pts. ln a 4 hour
aiternoon, or ~19.25 pts. in a 7 hour pt. encounter day at one of our outpatient centers A bonus for
our Ob/Gyn Physicians at the locations where we have ultrasound equipment is that, since Medicaid
pays HN the same as a pt. visit with our wrap around payment, we count U/S's read toward those
Physicians productivity for the month and they are paid additionally each month for reading those
U/Ss between their scheduled pts. and/or before pt. care, during lunch or at the end of the day.
A bit complicated but the basic message should be an ave. of 2.75 pts/day for Physicians which
equates to 19-20 pts./day.
CNlV| & NPs target is lower at 2.4 pts./hr. in part because of their lower salaries and breadth of
Hknowledge which works out to ~17 pts/day.

 

 

Hope this helps & thanks for asking. Don

 

95. Additionally, nonphysicians routinely performed services which did not require
physician oversight such as the administration of a monthly Depo-Provera birth control
injection A patient presenting for a monthly Depo-Provera shot would be placed on a provider’s
schedule, but only a medical assistant ever saw the patient to administer the injection However,
Trainor explained to Dr. Robinson that the service would be billed under the name of whatever
physician was in the building at the time the injection was administered As a result, a bill was
submitted for the injection in the physician’s name without the physician having a face-to-faee

encounter with the patient

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96. ln July 2008, Trainor circulated an email to Dr. Robinson and other HealthNet
staff members which described the policy for billing encounters which did not involve a

physician face-to-face visit with a patient

 

From: Trainor, Dona|d

Sent: Mon 7/28/2008 2:40 PM

To: Ashworth, Mickki; Robinson, Judith A
Cc: Glenn, Lorie; P|ank, Elvin; F|ick, Larry T
Subject: FW: New 99211 policy

 

 

 

 

H. While the 99211 visit does not require the actual face-to-face encounter between a
patient and the physician, it is billed under the name of the supervising physician or provider
on-site for that encounter.”

One very unique thing about HealthNet billing as an FQHC is that we get “wrap-
around" payments for our Medicaid visits such that_a|]_Mg_dj_c_ajgli§_i_t§_ are paid the
same to us by the State by Federal mandate. So, regardless of what provider
billing code that is used, we are id the e > 0 a ou whether it is a 99211,
99215, 99201, 99205, etc. So that is why we want to be sure that we are billing
appropriate “nurse” visits that meet the above guidelines and bill for these encounters
as 99211 and we do not have to have a provider actually see the patient for these
appropriately billed 99211 visits

Hope this helps
Thanks. Don

 

 

 

97. The financial compensation available to an FQHC facility is provided only for an
“encounter” which requires that an approved clinic practitioner (which does not include a
medical assistant) see a patient face-to-face. Specifically, a physician’s face-to-face meeting
with a patient could be billed under the physician’s name, or a nurse practitioner’s face-to-face
meeting with a patient could be billed in the nurse-practitioner’s name. But, if a medical
assistant performs a service for a patient, the service cannot be billed to an FQHC as though a

physician had the face-to-face encounter with a patient Therefore, each claim made for FQHC

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reimbursement for the review of ultrasounds a birth control inj ection, or other service which did
not involve a face-to-face visit by an approved clinical practitioner is a false claim which
resulted in an improper claim to Medicaid and a false claim for an FQHC wrap-around payment

MDwise failed to properly investigate and reject improper claims from HealthNet and IU
Health,

98. When lndiana created its managed care program, the state was particularly
interested in hiring managed care entities that could address the unique health challenges posed
by low-income populations to manage and integrate their care. The contract between MDwise
and the lndiana OMPP specifically set forth the goals for MDwise: identify high-risk members
and provide effective disease management case managements and care management programs
for those that would benefit from such services; improve health outcomes; and assure the
appropriate use of health care services9

99. Under its contract with the state, MDwise is required to hire case managers who
coordinate care for high-risk patients lt is the role of a case manager to ensure that Medicaid
recipients are receiving the proper care from appropriate providers10 Additionally, by contract,
lndiana requires MDwise to provide prenatal care programs targeted at averting unwanted
outcomes in high-risk pregnancies

100. MDwise is also supposed to evaluate its members to determine which services

should be provided during a member’s pregnancy. Among the screening tools employed by

MDwise is the Notification of Pregnancy (“NOP”) Form developed by lndiana Medicaid to

 

9 https://fs85.gmis.in.gov/lDOAcontracts/public/50269-000.pdf , at 44-45.

‘° la at 53.

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evaluate a patient’s risk factors11 Filing out the NOP creates bonuses for both the healthcare
provider who fills it out, and the managed care plan who receives it lndiana pays $60 to the
healthcare provider for each completed NOP, and places an additional $40 into a birth outcome
bonus pool. MDwise is eligible to receive all of the money in the birth outcome bonus pool if
the C-section delivery rate is at or below 27%.12

101. To comply with the federal Medicaid statute requirements set forth in 42 C.F.R. §
438.608, lndiana requires managed care entities to put in place an internal investigation program
to stop waste, f`raud, and abuse in Medicaid programs The internal investigation program must
include a mandatory compliance program; written policies procedures and standards of conduct
that articulate the organization’s commitment to comply with federal and state standards; the
designation of a compliance office and committee that are accountable to senior management; a
provision for internal monitoring and auditing; and a provision for prompt response to detected
offenses and for development of correction action initiatives

102. lndiana requires the immediate reporting of any suspected fraud to the state’s
lndiana Medicaid Fraud Control Unit (“ll\/lFCU”), the Surveillance and Utilization Review
(“SUR”) Department, and the Office of Medicaid Policy and Planning (“OMPP”). The managed
care entity must report any suspicion or knowledge of fraud and abuse, including filing false or
fraudulent claims or accepting (or failing to return) monies allowed or paid on claims known to
be false or fraudulent

103. As part of its contract with the state of lndiana as a Medicaid managed care entity,

MDwise has the obligation to create and utilize a Special lnvestigations Unit designed

 

11 Id. at 150.

12 Id. at 201.

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specifically to identify and reject false or fraudulent claims for reimbursement The MCE must
develop written policies and procedures for referring instances of suspected or confirmed fraud
and abuse to the appropriate parties All referrals should include a description and an analysis of
the suspected or confirmed fraud and abuse in question The MCE must not attempt to
investigate or resolve the suspicion, knowledge, or action without informing the IMFCU and the
OMPP, and must cooperate fully in any investigation by the IMFCU or in subsequent legal
action that may result from an investigation

104. ln 2010, state health consultants reported in a quality review that efforts to detect
fraud and abuse at the state’s three managed care entities were “fairly stagnant.”13 ln response,
the MCES enhanced their Special lnvestigation Units. While the consultants praised the strong
process for handling investigations and rigorous training of two of the MCEs they singled out
MDWise as having “areas of opportunity” to improve its anti-fraud program. Although MDWise
was the largest managed care entity in lndiana, it had the fewest fraud investigations

1'05. Upon information and belief, executives at MDwise were fully aware of the use of
CNMs to treat high-risk obstetric patients in violation of the IHCP Provider Manual restrictions
and outside the scope of the CNMs licensure. MDWise executives regularly scheduled and
attended meetings With HealthNet department directors and, upon information and belief, would
have been fully informed of the nonphysician/CNM practice model as a result of these meetings

106. However, even with its ostensibly strengthened anti-fraud program, and extensive

internal knowledge of the nonphysician billing scheme by senior executives MDwise failed to

 

13 http://Www.bumshealthpolicy.com/wp-content/uploads/2011/07/External-Quality-Review-of-
the-Hoosier-Healthwise-and-Healthy-lndiana-Plan_Review-Year-CY2009.pdf, page 7.

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identify or report the blatantly fraudulent billings related to the treatment of high-risk patients by
nonphysicians submitted by lU Health and HealthNet.

107. MDwise had an inherent conflict of interest due to lU Health’s ownership stake in
the company, such that MDwise was incentivized to accept all claims submitted by lU Health to
maximize the revenues of its parent company,

108. ln addition to the support for its parent company, MDwise had an additional
financial incentive to disregard suspected fraudulent claims MDwise receives a capitated
payment per member from the state of lndiana nom which it reimburses providers for valid
Medicaid claims MDwise is entitled to keep a portion of the capitated payments not used to pay
for members’ claims

RETALIATION AGAINST DR. ROBINSON

Dr. Robinson’s employment was terminated because she questioned Defendants’
dangerous and improper business model.

109. Deeply concerned about patient safety, Dr. Robinson first raised questions about
the treatment of high-risk patients by CNMs to Booker Thomas the former CEO of HealthNet
and Elvin Plank, the former COO of HealthNet at various times in or about 2012,

110. As Dr. Robinson’s concerns grew, she alerted HealthNet management including
the CEO, COO and CMO, of the dangers associated with HealthNet and lU Health’s policy of
ensuring a lack of physician management and treatment of high-risk patients Dr. Robinson also
met with Dr. Michael Niemeier, the Chief Medical Officer of Methodist Hospital, and John
Kohne, the acting Chief Medical Officer of the entire IU Health system. Dr. Robinson informed
Niemeier and Kohns about her concerns about the business model of having CNMs provide
essentially all prenatal care to high-risk obstetric patients Dr. Robinson was met with resistance,

obfuscation, and at time, abusive behavior, specifically by Dr. Trainor,

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lll. On or about May 1, 2013, Dr. Robinson was called into Dr. Niemeier’s office,
where he informed her that HealthNet executives were getting agitated about Dr. Robinson’s
complaints about the lack of physician management of obstetric patients He advised her to “go
into hiding” because her job was in jeopardy.

112. HealthNet’s Chief Medical Officer Don Trainor was so committed to the CNM
business model that, according to Dr. Neimeier, Trainor met with Methodist Hosptial’s president
J ames Terwilliger and informed him that the relationship between the two entities was at risk if
lU Health, who managed the human resources for HealthNet did not terminate Dr. Robinson’s
employment with HealthNet.

113. On or about June 7 , 2013, Dr. Neimeier informed Dr. Robinson that “things
[were] getting to a crisis stage” and that HealthNet wanted her lired.

114. On or about June 14, 2013, Dr. Neimeier informed Dr. Robinson that she was
being released from her employment contract because “HealthNet wants [her] out.”

115. Dr. Robinson’s final day of employment with HealthNet was August 9, 2013.

Count I:
Violations of the Federal False Claims Act by Submitting Claims for Treatment of High-
Risk Patients by Nonphysicians
as to All Defendants

116. Relator incorporates paragraphs 1 - 115 of this complaint as though fully set forth
herein This count sets forth claims for treble damages and forfeitures under the federal False
Clairns Act, 31 U.S.C. §§ 3729-3732, as amended

117 . As lndiana Medicaid providers Defendants have certified and continue to certify
that they will comply with all applicable federal and state regulations As described above,
Defendants have engaged in false or fraudulent activities including using nonphysician certified

nurse-midwives to provide treatment to medically high-risk pregnant women and dis guising the

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treatment by submitting claims for reimbursement in the names of physicians who did not
actually treat the patients By engaging in this conduct Defendants not only improperly
submitted claims and received reimbursement from Medicaid, but also submitted claims and
received additional reimbursements because of HealthNet’s characterization as a Federally
Qualified Health Center, Defendants’ false and fraudulent claims also enabled lU Health’s
Methodist Hospital to report the care for Medicaid and uninsured patients which enabled it to
qualify as a disproportionate share hospital.

118. Defendants knowingly submitted false claims to the State of lndiana as a result of
this conduct Defendants knew that submitting the false claim to the State of lndiana would, in
tum, cause the State of lndiana to submit a claim for reimbursement to the federal Medicaid
program.

119. In doing so, Defendants knowingly violated:

(l) 31 U.S.C. § 3729(a)(1)(A) by presenting, or causing to be presented, false
and fraudulent claims for payment or approval to the United States in the form of
claims for reimbursement from the State of lndiana to the United States claims
for reimbursement as an FQHC, and claims for subsidy as a disproportionate
share hospital, related to the treatment of high-risk patients by nonphysician
certified nurse-midwives and

(2) 31 U.S.C. § 3729(a)(1)(B) by making, using or causing to be made or
used, a false record or statement to get a false or fraudulent claim paid or
approved by the United States by submitting bills in a physician’s name when the

service was actually performed by a certified nurse-midwife; and

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(3) 31 U.S.C. § 3729(a)(1)(C) by conspiring with one another to commit a
violation of 31 U.S.C. § 3729(a)(l)(A) and (B).

120. To the extent any of the conduct alleged herein occurred on or before May 20,
2009, Relator alleges that Defendants knowingly violated 31 U.S.C. § 3729(a)(1), (a)(2) and
(a)(3), prior to amendment by engaging in the conduct described in Paragraph 119(1), (2), and
(3), respectively.

121. Because of the false or fraudulent claims made by Defendant the United States
has suffered, and continues to suffer damages and is therefore entitled to recovery as provided by
the False Claims Act of three times the amount of damages sustained by the United States plus a
civil penalty of $5,500 to $11,000 for each violation

Count II:
Violations of the lndiana False Claims Act by Submitting Claims for Treatment of High-
Risk Patients by Nonphysicians
as to All Defendants

122. Relator incorporates paragraphs 1 - 115 of this complaint as though fully set forth
herein This count sets forth claims for treble damages and forfeitures under the lndiana False
Claims Act, lnd. Code 5-11-5.5.

123. As lndiana Medicaid providers Defendants have certified and continue to certify
that they will comply with all applicable federal and state regulations As described above,
Defendants have engaged in false or fraudulent activities including using nonphysician certified
nurse-midwives to provide treatment to medically high-risk pregnant women and disguising the
treatment by submitting claims for reimbursement in the names of physicians who did not
actually treat the patients By engaging in this conduct Defendants not only improperly

submitted claims and received reimbursement from Medicaid, but also submitted claims and

received additional reimbursements because of HealthNet’s characterization as a Federally

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Qualified Health Center, Defendants’ false and fraudulent claims also enabled lU Health’s
Methodist Hospital to report the care for Medicaid and uninsured patients which enabled it to
qualify as a disproportionate share hospital.
124. Defendants knowingly submitted false claims to the State of lndiana as a result of
this conduct
125. ln doing so, Defendants knowingly violated:
(1) lnd. Code 5-11-5.5-2(b)(1) by presenting a false claim to the state for
approval;
(2) Ind. Code 5-11-5.5-2(b)(2) by making or using a false record or statement
to obtain payment or approval of a false claim from the state; and
(3) lnd. Code 5-11-5.5-2(b)(7) by conspiring with one another to perform acts
described in lnd. Code 5-11-5.5-2(b)(l) and (2).
126. Because of the false or fraudulent claims made by Defendant the State of lndiana
has suffered, and continues to suffer damages and is therefore entitled to recovery as provided by
the lndiana False Claims Act of an amount to be determined at trial, plus a civil penalty of at

least $5,000 and up to three times the amount of damage sustained by the state.

Count III:
Violations of the Federal False Claims Act by Offering and Accepting Kickbacks in
Violation of the Anti-Kickback Statute
as to Defendants IU Health and HealthNet

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127.

Relator incorporates paragraphs l - 115 of this complaint as though fully set forth

herein This count sets forth claims for treble damages and forfeitures under the federal False

Claims Act, 31 U.S.C. §§ 3729-3732, as amended.

128.

As described above, Defendants have engaged in false or fraudulent activities

including offering, accepting, and entering into financial compensation arrangements that were

made for the purpose of inducing referrals from Defendant HealthNet to Defendant lU Health.

This conduct is in direct violation of the Anti-Kickback Statute and therefore every claim made

as a result of an improper referral is tainted as a false claim.

129.

130.

By engaging in this conduct Defendants knowingly violated:

(1) 31 U.S.C. S 3729(a)(1)(A) by presenting, or causing to be presented, false
and fraudulent claims for payment or approval to the United States and the State
of lndiana, in the form of claims for reimbursement for services rendered to
patients who were referred as a direct result of a prohibited financial relationship
in violation of the Anti-Kickback Statute, and

(2) 31 U.S.C. § 3729(a)(1)(B) by making, using or causing to be made or
used, a false record or statement to get a false or fraudulent claim paid or
approved by the United States and the State of lndiana, in the form of certifying
that the hospital was in compliance with all applicable laws and regulations and
(3) 31 U.S.C. § 3729(a)(1)(C) by conspiring with one another to commit a
violation of 31 U.S.C. § 3729(a)(1)(A) and (B).

To the extent any of the conduct alleged herein occurred on or before May 20,

2009, Relator alleges that Defendants knowingly violated 31 U.S.C. § 3729(a)(1), (a)(2) and

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(a)(3) , prior to amendment by engaging in the conduct described in Paragraph 129 (1), (2) and
(3), respectively.

131. Because of the false or fraudulent claims made by Defendant the United States
has suffered, and continues to suffer damages and is therefore entitled to recovery as provided by
the False Claims Act of three times the amount of damages sustained by the United States plus a
civil penalty of $5,500 to $11,000 for each violation

Count IV:
Violations of the lndiana False Claims Act by Offering and Accepting Kickbacks in
Violation of the lndiana Anti-Kickback Statute
as to Defendants IU Health and HealthNet

132. Relator incorporates paragraphs 1 - 115 of this complaint as though fully set forth
herein This count sets forth claims for treble damages and forfeitures under the lndiana False
Claims Act, lnd. Code 5-11-5.5.

133. As described above, Defendants have engaged in false or fraudulent activities
including offering, accepting, and entering into financial compensation arrangements that were
made for the purpose of inducing referrals from Defendant HealthNet to Defendant lU Health.
This conduct is in direct violation of the lndiana Anti-Kickback Statute, lnd. Code § 12-15-24-2,
and in accordance with lnd. Code §12-15-24-1, is prima facie evidence of the intent to deprive
the state of part of the value of the money or benefits Therefore, every claim made as a result of
an improper referral is tainted as a false claim.

134. By engaging in this conduct Defendants knowingly violated:

(1) lnd. Code 5-11-5.5-2(b)(1) by presenting a false claim to the state for
approval;

(2) Ind. Code 5-11-5.5-2(b)(2) by making or using a false record or statement

to obtain payment or approval of a false claim from the state; and

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(3) lnd. Code 5-11-5.5-2(b)(7) by conspiring with one another to perform acts
described in lnd. Code 5-11-5.5-2(b)(1) and (2).

135. Because of the false or fraudulent claims made by Defendant the State of lndiana
has suffered, and continues to suffer damages and is therefore entitled to recovery as provided by
the lndiana False Claims Act of an amount to be determined at trial, plus a civil penalty of at
least $5,000 and up to three times the amount of damage sustained by the state.

Count V:
Violations of the Federal False Claims Act by Submitting Claims for Reimbursement for
FQHC Payments Without Conducting a Face-to-Face Encounter
as to Defendant HealthNet

136. Relator incorporates paragraphs l - 115 of this complaint as though fully set forth
herein This count sets forth claims for treble damages and forfeitures under the federal False
Claims Act, 31 U.S.C. §§ 3729-3732, as amended.

137. As an FQHC, HealthNet was entitled to submit claims for additional “wrap-
aroun ” payments in addition to the standard Medicaid reimbursement for certain services so
long as the service was rendered during a patient “encounter” which required face-to-face
interaction between the physician and patient By submitting claims for wrap-around payments
which required that a physician have a face-to-face encounter with the patient when Defendant
knew that the physician did not have a face-to-face encounter, Defendant HealthNet submitted
false and fraudulent claims for reimbursement

138. Defendants knowingly submitted false claims to the State of lndiana as a result of
this conduct Defendants knew that submitting the false claim to the State of lndiana would, in
turn, cause the State of lndiana to submit a claim for reimbursement to the federal Medicaid
program.

139. ln doing so, Defendants knowingly violated:

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(1) 31 U.S.C. § 3729(a)(1)(A) by presenting, or causing to be presented, false
and fraudulent claims for payment or approval to the United States in the form of
claims for reimbursement as an FQHC related to review of ultrasounds without a
face-to-face patient encounter, and
(2) 31 U.S.C. § 3729(a)(l)(B) by making, using or causing to be made or
used, a false record or statement to get a false or fraudulent claim paid or
approved by the United States by submitting bills which certified a proper face-to-
face encounter occurred.
140. To the extent any of the conduct alleged herein occurred on or before May 20,
2009, Relator alleges that Defendants knowingly violated 31 U.S.C. § 3729(a)(1) and 31 U.S.C.
§ 3729(a)(2), prior to amendment by engaging in the conduct described in Paragraph 139(1) and
(2), respectively.
141. Because of the false or fraudulent claims made by Defendant the United States
has suffered, and continues to suffer damages and is therefore entitled to recovery as provided by
the False Claims Act of an amount to be determined at trial, plus a civil penalty of $5,500 to

$l 1,000 for each violation

Count VI:
Violations of the lndiana False Claims Act by Submitting Claims for Reimbursement for
FQHC Payments Without Conducting a Face-to-Face Encounter
as to Defendant HealthNet

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142. Relator incorporates paragraphs 1 - 115 of this complaint as though fully set forth
herein This count sets forth claims for treble damages and forfeitures under the lndiana False
Claims Act, lnd. Code 5-11-5.5.

143. As an FQHC, HealthNet Was entitled to submit claims for additional “wrap-
around” payments in addition to the standard Medicaid reimbursement for certain services so
long as the service was rendered during a patient “encounter” which required face-to-face
interaction between the physician and patient By submitting claims for wrap-around payments
which required that a physician have a face-to-face encounter with the patient when Defendant
knew that the physician did not have a face-to-face encounter, Defendant HealthN et submitted
false and fraudulent claims for reimbursement

144. Defendants knowingly submitted false claims to the State of lndiana as a result of
this conduct

145. ln doing so, Defendants knowingly violated:

(1) lnd. Code 5-11-`5.5-2(b)(1) by presenting a false claim to the state for
approval; and

(2) lnd. Code 5-11-5.5-2(b)(2) by making or using a false record or statement
to obtain payment or approval of a false claim from the state.

146. Because of the false or fraudulent claims made by Defendant the State of lndiana
has suffered, and continues to suffer damages and is therefore entitled to recovery as provided by
the lndiana False Claims Act of an amount to be determined at trial, plus a civil penalty of at
least $5,000 and up to three times the amount of damage sustained by the state.

Count VII:
Violation of the Federal False Claims Act by Failing

to Identify and Reject Claims for Service
as to Defendants MDwise and IU Health

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147 . Relator incorporates paragraphs 1 - 115 of this complaint as though fully set forth
herein This count sets forth claims for treble damages and forfeitures under the federal False
Claims Act, 31 U.S.C. §§ 3729-3732, as amended.

148. Defendant MDwise had an obligation to review and identify claims that it knew
or suspected to be false or fraudulent claims due to the treatment of high-risk patients by
nonphysicians Due to the conflict of interest that arose because lU Health, as the parent
company, stood to increase its revenues if MDwise approved its false or fraudulent claims
Defendant MDwise failed to properly investigate claims from lU Health and HealthNet. As a
result, MDwise knowingly processed and paid claims which should not have been paid, thereby
reducing the amount of the capitated payment returned to the State of lndiana and the United
States

149. ln doing so, Defendants knowingly violated:

(1) 31 U.S.C. § 3729(a)(1)(A) by presenting, or causing to be presented, false
and fraudulent claims for payment or approval to the United States;

(2) 31 U.S.C. § 3729(a)(1)(B) by making, using or causing to be made or

used, a false record or statement to get a false or fraudulent claim paid or

approved by the United States;

(3) 31 U.S.C. § 3729(a)(1)(C) by conspiring with one another to commit a

violation of 31 U.S.C. § 3729(a)(1)(A) , (B), and (G); and

(4) 31 U.S.C. § 3729(a)(1)(G) by knowingly making, using, or causing to be

made or used, a false record or statement material to an obligation to pay or

transmit money or property to the Government, or knowingly concealing or

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knowingly and improperly avoiding or decreasing an obligation to pay or transmit
money or property to the Govemment.

150. To the extent any of the conduct alleged herein occurred on or before May 20,
2009, Relator alleges that Defendants knowingly violated 31 U.S.C. § 3729(a)(1), (a)(2), (a)(3)
and (a)(7), prior to amendment by engaging in the conduct described in Paragraph 149(1), (2),
(3) and (4), respectively.

151. Because of the false or fraudulent claims made by Defendant the United States
has suffered, and continues to suffer damages and is therefore entitled to recovery as provided by
the False Claims Act of three times the amount of damages sustained by the United States plus a
civil penalty of $5,500 to $11,000 for each violation

Count VIII:
Violation of the lndiana False Claims Act by Failing
to Identify and Reject Claims for Service
as to Defendant MDwise and IU Health

152. Relator incorporates paragraphs 1 - 115 of this complaint as though fully set forth
herein This count sets forth claims for treble damages and forfeitures under lndiana False
Claims Act, Ind. Code 5-11-5.5.

153. Defendant MDwise had an obligation to review and identify claims that it knew
or suspected to be false or fraudulent claims due to the treatment of high-risk patients by
nonphysicians Due to the conflict of interest that arose because IU Health, as the parent
company, stood to increase its revenues if MDwise approved its false or fraudulent claims
Defendant MDwise failed to properly investigate claims from IU Health and HealthNet. As a
result, MDwise processed and paid claims which should not have been paid, thereby reducing the

amount of the capitated payment returned to the State of lndiana and the United States.

154. By engaging in this conduct Defendants knowingly violated:

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(1) lnd. Code 5-11-5.5-203)(1) by presenting a false claim to the state for
approval;

(2) lnd. Code 5-11-5.5-2(b)(2) by making or using a false record or statement
to obtain payment or approval of a false claim from the state;

(3) lnd. Code 5-11-5.5-2(b)(6) by making or using a false record or statement
to avoid an obligation to pay or transmit property to the state; and

(4) lnd. Code 5-11-5.5-2(b)(7) by conspiring with one another to perform acts
described in Ind. Code 5-11-5.5-2(b)(1) and (2).

155 . Because of the false or fraudulent claims made by Defendant the State of lndiana
has suffered, and continues to suffer damages and is therefore entitled to recovery as provided by
the lndiana False Claims Act of an amount to be determined at trial, plus a civil penalty of at
least $5,000 and up to three times the amount of damage sustained by the state.

Count IX:
Retaliation and Wrongful Discharge Under the Federal False Claims Act
as to Defendants IUHealth and HealthNet

156. Relator incorporates paragraphs 1 - 115 of this complaint as though fully set forth
herein This count sets forth claims for treble damages and forfeitures under the federal False
Claims Act, 31 U.S.C. §§ 3729-3732, as amended.

157. Under the False Claims Act, 31 U.S.C. § 3730(h), an employee who, because of
her efforts to stop one or more violations of the False Claims Act, faces adverse employment
action or discrimination, is entitled to relief.

158. As alleged above, Dr. Robinson engaged in lawful acts in furtherance of efforts to
stop violations of 31 U.S.C. § 3729. Defendants IU Health and HealthNet were on notice of Dr.

Robinson’s objections to Defendants’ practices which were in violation of material conditions of

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payment governing government healthcare claims As a direct result of her efforts Defendants
retaliated against Dr. Robinson by harassing, intimidating, and ultimately terminating her
employment contract

159. As a direct and proximate result of the actions of IU Health and HealthNet Dr.
Robinson lost the benefits and privileges of her employment and has suffered continuing
damages to her reputation and career. She is entitled to all relief necessary to make her Whole,
including two times the amount of back pay, interest on back pay, and compensation for special
damages sustained as a result of the retaliation, including litigation costs and reasonable
attomey’s fees

Count X:

Retaliation and Wrongful Discharge Under the lndiana False Claims Act
as to Defendants IU Health and HealthNet

160. Relator incorporates paragraphs 1 - 115 of this complaint as though fully set forth
herein This count sets forth claims for treble damages and forfeitures under the lndiana False
Claims Act, lnd. Code 5-11-5.5

161. Under the lndiana False Claims and Whistleblower Protection Act, lnd. Code § 5-
11-5.5-8, an employee is entitled to relief when that employee has been discharged, threatened,
harassed, or otherwise discriminated against in the terms and conditions of employment because
the employee objected to an act or omission under the lndiana False Claims and Whistleblower
Protection Act

162. As alleged herein, Dr. Robinson engaged in lawful acts in furtherance of efforts to
stop violations of the lndiana False Claims and Whistleblower Protection Act, As a direct result
of her efforts Defendant HealthNet and lU Health harassed and intimidated Dr. Robinson, and

her employment Was ultimately terminated.

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163. As a result of Defendants’ actions Dr. Robinson was harmed and is entitled to all
relief necessary to be made whole.
PRAYER
WHEREFORE, Relator Dr. Judith Robinson respectfully prays for judgment against
Defendants as follows:

A. That the Court enter judgment against Defendants and order that they
cease and desist from violating 31 U.S.C. § 3729, et seq., immediately;

B. That the Court enter judgment against Defendants and order that they
cease and desist from violating 5-11-5.5-2 immediately;

C. That the Court enter judgment against Defendants in an amount equal to
three times the amount of damages that the United States has sustained because of
Defendants’ action, plus a civil penalty of not less than $5,500 and not more than $11,000
for each claim submitted in violation of 31 U.S.C. § 3729;

D. That the Court enter judgment against Defendants in an amount equal to
three times the amount of damages the State of lndiana has sustained because of
Defendants’ action, plus a civil penalty of not less than $5,000 for each violation of the
lndiana False Claims Act;

E. That the Court enter judgment against Defendants IU Health and
HealthNet pursuant to 31 U.S.C. § 3730(h), including an award to Relator of two times
the amount of her back pay, with interest and compensation for special damages

including litigation costs and reasonable attorneys’ fees;

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F. That the Court enter judgment against Defendants for the cost of this
action, with interest including the costs to the United States and the State of lndiana for
their expenses related to this action;

G. That Relator be awarded the maximum amount allowed pursuant to
$3730(d) of the False Claims Act and the equivalent provision of the lndiana Act;

H. That Relator be awarded all costs attorneys’ fees and litigation expenses

l. That the United States the State of lndiana and Relator receive all relief,
both at law and in equity, to which they may reasonably be entitled; and

J. That the Court order any other relief which it deems to be appropriate and
just

DEMAND FOR JURY TRIAL
Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator Dr. Judith Robinson

demands a trial by jury on all issues so triable.

Respectfully submitted this 29th day of October, 2014.

/s/ Robert E. Saint/z*@-

Robert E. Saint

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Counsel for Relator Dr. Judith Robinson

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CERTIFICATE OF SERVICE

l, Robert Saint hereby certify that the foregoing Amended Complaint was served on the
United States of America and State of lndiana at the following addresses via U.S. Priority Mail,
appropriately marked “Under Seal Pursuant to Court Order” on this 29th day of October, 2014:

The Honorable Eric H. Holder, Jr.
Attomey General of the United States
United States Department of Justice
950 Pennsylvania Ave., N.W.
Washington, DC 2053 0-0001

Deputy lndiana Attomey General Lawrence Carcare
Office of lndiana Attomey General

8005 Castleway Drive

lndianapolis, IN 46250

David O. Thomas
lnspector General, State of lndiana

315 W. Ohio St., Room 104
lndianapolis IN 46202

AUSA Jonathan A. Bont
United States Attorney’s Office, Southem District of lndiana
10 W. Market St., Suite 2100
lndianapolis, lN 46204

The foregoing Amended Complaint was not served on any Defendants pursuant to 31
U.S.C. § 3730(b)(2) and this Court’s order extending the seal deadline until Nov. 14, 2014 or
until further order of the Court

/s/ Robert E. saint /
Robert E. Saint

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